                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                DOCKET NO. 3:07-CV-412-FDW
                                   3:04-CR-00013-FDW-13
 MORRISON,                                         )
                                                   )
                 Petitioner,                       )
                                                   )
         vs.                                       )                     ORDER
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                 Respondent.                       )
                                                   )

       THIS MATTER comes now before the Court upon Petitioner’s Motion for Sentence

Clarification and/or Nunc Pro Tunc Order (Doc. No. 309, Case No. 3:04-CR-00013-FDW-13).

Petitioner contends that the Bureau of Prisons (“BOP”) “is wrongfully refusing to credit his sentence

with the appropriate time he served in detention prior to his sentencing . . . .” (Id.)

       On December 13, 2006, Petitioner pleaded guilty to conspiracy to possess with intent to

distribute Methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1). Petitioner was then

sentenced to thirty-three (33) months in prison. Petitioner now contends that the BOP has

miscalculated the amount of credit he should receive for time already served.

       As an initial matter, the Court notes that although Petitioner has stated that he is seeking a

Motion for Sentence Clarification, a Nunc Pro Tunc Order, and/or a motion under Federal Rule of

Civil Procedure 60(a) to correct a clerical mistake, none of these motions are available or appropriate

to the Petitioner. Instead, the Court will construe Petitioner’s motion as a motion for writ of habeas

corpus under 28 U.S.C. § 2241. Petitioner’s motion is more properly a § 2241 petition because that

section “applies to attacks on the execution of a sentence,” including Petitioner’s argument that the



   Case 3:04-cr-00013-FDW-DCK              Document 318        Filed 09/27/07      Page 1 of 2
BOP has miscalculated his time served. See U.S. v. Jeter, No. 97-7459, 1998 WL 482781 at *1 n.1

(4th Cir. Aug. 11, 1998).

       Without determining whether Petitioner’s argument for credit may have merit, this Court

must defer to Supreme Court and Fourth Circuit case law, which makes it clear that

       a district court does not have the jurisdiction to make the initial determination to
       award sentence credit for time spent in official detention. Rather, the Attorney
       General, through the Bureau of Prisons, is to make that determination. Review of the
       Bureau of Prisons’ determination is available through the administrative process and
       ultimately, after the exhaustion of administrative remedies, in the district court.

Id. at *1 (citing United States v. Wilson, 503 U.S. 329, 334-35 (1992)). Because Petitioner has not

supplied any documentation from the BOP concerning Petitioner’s use of the administrative process,

this case is not ripe for review in this Court. See id. at *2. Petitioner’s motion for writ of habeas

corpus under 28 U.S.C. § 2241 is therefore DENIED.

       IT IS SO ORDERED.                         Signed: September 27, 2007




   Case 3:04-cr-00013-FDW-DCK              Document 318        Filed 09/27/07      Page 2 of 2
